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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


  DOUGLAS NEWELL, individually and
  on behalf of all others similarly situated,                   Case No.:

                  Plaintiff,

  v.                                                                  JURY TRIAL DEMANDED

  CITRIX SYSTEMS, INC., a corporation,
  FIDELITY NATIONAL FINANCIAL, INC., a corporation, and
  LOANCARE, LLC, a corporation

                  Defendants.



                                  CLASS ACTION COMPLAINT

          Plaintiff Douglas Newell, individually and on behalf of the Class defined below of

  similarly situated persons, allege the following against Citrix Systems, Inc. (“Citrix”), Fidelity

  National Financial, Inc. (“FNF”), and LoanCare, LLC (“LoanCare”) (collectively “Defendants”)

  based upon personal knowledge with respect to himself and on information and belief derived

  from, among other things, investigation by Plaintiff’s counsel and review of public documents as

  to all other matters:

                                    SUMMARY OF THE CASE

          1.      This case involves a critical flaw in Defendant Citrix’s NetScaler software, which

  allowed hackers and other bad actors to obtain individuals’ PII for unsavory and illegal purposes.

  Specifically, the flaw resulted in the Data Breach that Defendant LoanCare, LLC announced on

  December 12, 2023, wherein—on November 19, 2023—the personal identifying information

  (“PII”) of millions of individuals was exposed to unauthorized third parties.

          2.      About 1.31 million individuals’ PII was compromised from the Data Breach.


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          3.      This Class Action Complaint is filed on behalf of all persons in the United States,

  described more fully in the following sections, whose PII was compromised in the Data Breach.

                                      JURISDICTION AND VENUE

          4.      The Court has subject matter jurisdiction over this action under the Class Action

  Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

  interest and costs. Upon information and belief, the number of class members is over 100, many

  of whom have different citizenship from Defendants. Thus, minimal diversity exists under 28

  U.S.C. § 1332(d)(2)(A).

          5.      This Court has jurisdiction over Defendants because they have availed themselves

  of the rights and benefits of the State of Florida by engaging in activities including (i) directly

  and/or through their parent companies, affiliates and/or agents providing services throughout the

  United States in this judicial district and abroad; (ii) conducting substantial business in this forum;

  (iii) having a registered agent to accept service of process in the State of Florida; and/or (iv)

  engaging in other persistent courses of conduct and/or deriving substantial revenue from services

  provided in Florida and in this judicial District.

          6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because

  Defendant Citrix resides within this District, and because Defendants purposefully engaged in

  activities, including transacting business in this District and engaging in the acts and omissions

  alleged herein, in this District.

                                                  PARTIES
      A. Plaintiff Douglas Newell

          7.      Plaintiff Douglas Newell is, and at all relevant times alleged herein was, an

  individual citizen of the State of Louisiana.

          8.      Plaintiff is a LoanCare customer who received a loan from LoanCare.

                                                       2
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           9.      On January 3, 2024, Plaintiff received a Notice of Data Breach from LoanCare,

  saying that Plaintiff’s PII was compromised, including, inter alia, his name, address, Social

  Security Number (“SSN”), and Loan Number.

           10.     Upon learning of the Data Breach, Plaintiff spent time planning how to protect his

  personal information.

           11.     In addition to the damages detailed herein, the Data Breach has caused Plaintiff to

  be at substantial risk for further identity theft and fraud using his stolen PII.

      B. LoanCare, LLC

           12.     Defendant LoanCare is a mortgage servicer operating in the United States.

           13.     LoanCare is headquartered in NMLS# 2916, 3637 Sentara Way, Virginia Beach,

  Virginia 23452.

      C. Fidelity National Financial, Inc. (“FNF”)

           14.     Defendant FNF is a provider of title insurance and settlement services to real estate

  and mortgage industries.

           15.     FNF claims to be “#1 in market share in the residential purchase, refinance, and

  commercial markets . . . .”1

           16.     FNF is headquartered in 601 Riverside Avenue, Building 5, Jacksonville, Florida

  32204.

           17.     FNF is the parent company of Defendant LoanCare, LLC.2

      D. Citrix Systems, Inc.




  1
   FNF Home Page, Fidelity National Financial, Inc., https://fnf.com/.
  2
   Fidelity National Financial, Inc. Announces Acquisition of LoanCare Servicing Center, Inc., Fidelity National
  Financial, Inc., https://www.investor.fnf.com/news-releases/news-release-details/fidelity-national-financial-inc-
  announces-acquistion-loancare/.

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           18.      Defendant Citrix is incorporated in the State of Florida, with its corporate office

  located at 851 Cypress Creek Road, Fort Lauderdale, FL 33309, United States.

           19.      On or about September 2022, Vista Equity Partners and Elliot Investment

  Management, L.P. acquired Citrix and combined Citrix with TIBCO Software (“TIBCO”).3

           20.      Both Citrix and TIBCO are subsidiaries of their parent company, the Cloud

  Software Group.4

           21.      Defendant is a cloud computing and virtualization company which provides server,

  application, and desktop virtualization, networking, software as a service (“SaaS”), and cloud

  computing products.

           22.      Defendant Citrix “serves more than 100 million users, 10,000 partners and 400,000

  customers across 100 countries.”5

           23.      Defendant Citrix collects and stores PII of its users for providing its services.

                                          FACTUAL ALLEGATIONS

      A. NetScaler Generally

           24.      NetScaler is a suite of software products designed to facilitate, manage, and protect

  network traffic.6

           25.      The NetScaler brand, like Citrix, is included under the Cloud Software Group

  name.7




  3
    Vista Equity Partners and Evergreen Coast Capital Announce the Completion of the Transaction to Acquire Citrix
  Systems and Combine it with TIBCO Software, Cloud Software Group, https://www.cloud.com/news/press-release.
  4
    Mission-critical enterprise software at scale, Cloud Software Group, https://www.cloud.com/.
  5
    Data Index, Citrix, https://www.citrix.com/about/sustainability/2021-report/data-
  index.html#:~:text=Citrix%20serves%20more%20than%20100,400%2C000%20customers%20across%20100%20c
  ountries (last visited Dec. 26, 2023).
  6
    Citrix NetScaler: What Is It? | Parallels Insights, Parallels, https://www.parallels.com/blogs/ras/citrix-netscaler/.
  7
    Vista Equity Partners and Evergreen Coast Capital Announce the Completion of the Transaction to Acquire Citrix
  Systems and Combine it with TIBCO Software, Cloud Software Group, supra.

                                                             4
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           26.      To use NetScaler, a piece of hardware hosting the different NetScaler products

  (“NetScaler appliance”) is necessary.8 After obtaining and unpacking the NetScaler appliance, the

  NetScaler appliance must be configured.9

           27.      Of the configurations recommended in the NetScaler product documentation are

  controls for authentication, authorization, and auditing (“AAA”):

                 a. Authentication—NetScaler verifies a client’s credentials and approves or denies

                    to that client access to protected servers.

                 b. Authorization—NetScaler determines which content on a protected server a client

                    can access.

                 c. Auditing—NetScaler keeps a record of each client’s activity on a protected

                    server.10

           28.      Two of NetScaler’s software product are relevant here: (a) NetScaler Application

  Delivery Controller (“ADC”) and (b) NetScaler Gateway.

                 a. NetScaler Application Delivery Controller

           29.      An application delivery controller (“ADC”) is “purpose-built networking appliance

  used to improve the performance, security, and resiliency of applications delivered over the

  web.”11

           30.      ADCs can efficiently load balance connections between devices, optimize such

  connections, apply security policies, and block attacks.12



  8
    Install the hardware, NetScaler Product Documentation, https://docs.netscaler.com/en-us/citrix-adc/current-
  release/getting-started-with-citrix-adc/install-hardware.
  9
    Id.
  10
     How authentication, authorization, and auditing works, NetScaler Product Documentation,
  https://docs.netscaler.com/en-us/citrix-adc/current-release/aaa-tm/how-citrix-adc-aaa-works.
  11
     What is an application delivery controller?, NetScaler, https://www.netscaler.com/articles/what-is-an-application-
  delivery-controller.
  12
     Id.

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          31.      ‘Load balancing’ is the distribution of network traffic among several servers to

  ameliorate a service or application’s performance and soundness.13

          32.      A ‘server’ is a device or computer program that delivers a service to a ‘client’,

  another computer program or device.14 Examples of services include, inter alia, accessing

  databases, using e-mail, providing files, and deploying websites.15

          33.      Under the ‘client-server’ model, the client sends over the network a service request

  to the server, and the server responds to the client, the response of which may allow or deny the

  client access to the desired service.




  13
     What is load balancing? | How load balancers work, CloudFlare,
  https://www.cloudflare.com/learning/performance/what-is-load-balancing/.
  14
     What is a Server?, GeeksforGeeks, https://www.geeksforgeeks.org/what-is-server/.
  15
     Id.

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             34.      Load balancing removes strain on servers, making them more efficient, improving

  performance and reducing the amount of time it takes for a piece of data to go from one place to

  another.16




                   b. NetScaler Gateway




  16
       What is load balancing? | How load balancers work, CloudFlare, supra.

                                                           7
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          35.      Information technology practitioners of a company use NetScaler Gateway by

  placing it on the company’s internal network as “a secure single point of access to the servers,

  applications, and other network resources that reside in the internal network.”17




                     The black device is the ‘NetScaler appliance’, which hosts the different
                     NetScaler software products (e.g., NetScaler ADC, NetScaler Gateway).

          36.      A ‘gateway’ is a network node “that connects two networks with different

  transmission protocols together.”18

          37.      A ‘network’ compromises two or more devices (e.g., computers, tablets, gaming

  consoles) that are connected to share resources, exchange files, or permit electronic

  communication.19

          38.      A ‘network node’ is a point of connection among network devices that can obtain

  and deliver data from one endpoint (i.e., a physical device connected to a network) to the other.20




  17
     Common NetScaler Gateway Deployments, NetScaler Gateway Product Documentation,
  https://docs.netscaler.com/en-us/citrix-gateway/current-release/common-gateway-deployments.
  18
     Definition (gateway), TechTarget, https://www.techtarget.com/iotagenda/definition/gateway.
  19
     What is a Network?, Fla. Cent. For Instructional Tech., https://fcit.usf.edu/network/chap1/chap1.htm.
  20
     What is a Network Node?, SolarWinds, https://www.solarwinds.com/resources/it-glossary/network-node.

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          39.      A ‘protocol’ is “established set of rules that determine how data is transmitted

  between different devices in the same network[,]” the rules of which permit network-connected

  devices to communicate with each other.21

          40.      Many protocols are associated with certain ‘ports’, which are virtual points where

  network connections start and finish. Each port is affiliated with a particular service; accordingly,

  for way of example, emails are sent to one port, and web pages go to another port.22

          41.      Each port has an assigned ‘port number’. While there are 65,535 potential port

  numbers, popular port numbers include, inter alia:

                a. Port 22 for Secure Shell, which allows for creation of secure network connections;

                b. Port 123 for Network Time Protocol, which permits computer clocks to

                   synchronize with each other; and

                c. Port 80 for Hypertext Transfer Protocol, which allows for delivery and receipt

                   of unencrypted web traffic.23




                c. “Citrix Bleed” Vulnerability (CVE-2023-4966)




  21
     What is a Network Protocol, and How Does It Work?, CompTIA, https://www.comptia.org/content/guides/what-
  is-a-network-protocol.
  22
     What is a computer port | Ports in networking, CloudFlare, https://www.cloudflare.com/learning/network-
  layer/what-is-a-computer-port/.
  23
     Id.

                                                       9
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            42.     On October 10, 2023, Citrix announced a sensitive information disclosure

  vulnerability in its NetScaler software suite. The NetScaler vulnerability is known as “Citrix

  Bleed.”24

            43.    Citrix Bleed allows hackers to hijack user sessions on NetScaler appliances to

  gather configuration information about the target company’s network and steal credentials from

  the target company.25

            44.    To exploit Citrix Bleed, an attacker sends certain web traffic to a NetScaler

  appliance, which will cause the NetScaler appliance to return contents of system memory. Such

  memory contents can include an AAA session cookie. With the session cookie, which is a piece

  of data containing an identifier associated with a validated NetScaler user,26 the attacker can bypass

  ordinary authentication procedures (i.e., username, password, multi-factor authentication) and

  interact with the NetScaler appliance.27

            45.    On October 10, 2023, Citrix released a patch to fix the Citrix Bleed Vulnerability.

  Additional mitigation steps were released on October 23.28

            46.    Citrix Bleed was being exploited as a zero-day vulnerability since at least August

  2023.29


  24
     Notice to Customers of Data Security Incident, Xfinity,
  https://assets.xfinity.com/assets/dotcom/learn/_Data_Incident.pdf; Comcast’s Xfinity breached by Citrix Bleed; 36
  million customer’s data accessed, Malwarebytes Labs,
  https://www.malwarebytes.com/blog/news/2023/12/comcasts-xfinity-breached-by-citrix-bleed-36-million-
  customers-data-accessed.
  25
     Comcast bleeds 36M credentials in Citrix-related breach, Fierce Telecom,
  https://www.fiercetelecom.com/telecom/xfinity-reports-breach-affecting-358m-customer-
  ids#:~:text=The%20data%20breach%20was%20discovered,a%20notice%20from%20the%20company.
  26
     See What are cookies?, Kapersky Lab, https://usa.kaspersky.com/resource-center/definitions/cookies.
  27
     Investigation of Session Hijacking via Citrix NetScaler ADC and Gateway Vulnerability (CVE-2023-4966),
  Mandiant, https://www.mandiant.com/resources/blog/session-hijacking-citrix-cve-2023-4966.
  28
     Notice to Customers of Data Security Incident; see also NetScaler ADC and NetScaler Gateway Security
  Bulletin for CVE-2023-4966 and CVE-2023-4967, Citrix, https://support.citrix.com/article/CTX579459/netscaler-
  adc-and-netscaler-gateway-security-bulletin-for-cve20234966-and-cve20234967.
  29
     Remediation for Citrix NetScaler ADC and Gateway Vulnerability (CVE-2023-4966), Mandiant,
  https://www.mandiant.com/resources/blog/remediation-netscaler-adc-gateway-cve-2023-4966.

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         B. LoanCare Data Breach

             47.      On November 19, 2023, Defendant FNF, LoanCare’s parent company, filed a Form

  8-K Report notifying the Securities and Exchange Commission (“SEC”) the following about the

  Data Breach:

             Fidelity National Financial, Inc. (“FNF” or the “Company”) recently became
             aware of a cybersecurity incident that impacted certain FNF systems. FNF
             promptly commenced an investigation, retained leading experts to assist the
             Company, notified law enforcement authorities, and implemented certain
             measures to assess and contain the incident. Among other containment measures,
             we blocked access to certain of our systems, which resulted in disruptions to our
             business. For example, the services we provide related to title insurance, escrow
             and other title-related services, mortgage transaction services, and technology to
             the real estate and mortgage industries, have been affected by these measures. Our
             majority-owned subsidiary, F&G Annuities & Life, a leading provider of
             insurance solutions, was not impacted by the incident.

             Based on our investigation to date, FNF has determined that an unauthorized third
             party accessed certain FNF systems and acquired certain credentials. The
             investigation remains ongoing at this time.

             FNF will continue to assess the impact of the incident and whether the incident
             may have a material impact on the Company.

             We are working diligently to address the incident and to restore normal operations
             as quickly and safely as possible.30


             48.      On December 12, 2023, Defendant LoanCare posted its Notice of Data Event on

  the Maine Attorney General’s website, notifying the public for the first time of the Data Breach,

  in which LoanCare specified the following:

             What Happened?
             On or about November 19, 2023, LoanCare, LLC (“LoanCare”), which performs
             or has performed loan subservicing functions for your mortgage loan servicer,
             became aware of unauthorized access to certain systems within its parent’s, Fidelity
             National Financial, Inc. (“FNF”), information technology network. Upon becoming
             aware of the incident, FNF commenced an investigation with the assistance of third-
             party experts, notified certain law enforcement and governmental authorities, and


  30
       Fidelity Nat’l Finan., Inc., 8-K Report (Form 8-K) (Nov. 19, 2023).

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           began taking measures to assess and contain the incident. The incident has been
           contained.

           The investigation has determined that an unauthorized third party exfiltrated data
           from certain FNF systems. As part of the review of the potentially impacted data,
           LoanCare identified that some of your personal information may have been among
           that data. It is important to note that we have not identified any fraudulent use of
           your personal information as a result of this incident.

           What Information Was Involved?
           Based on our investigation, we understand that your Name, Address, Social
           Security Number, and Loan Number may have been obtained by the unauthorized
           third party.

           49.      The compromised information included names, addresses, Social Security

  Numbers, and loan numbers.

           50.      In the Notice of Data Breach, LoanCare advised consumers to monitor accounts,

  obtain freeze credits and/or new credit reports, report identity theft to the Federal Trade

  Commission (“FTC”) and police, and issue fraud alerts.

           51.      The PII of about 1,316,938 individuals was affected by the Data Breach.31

           52.      Upon information and belief, the Data Breach was caused by an unknown and

  unnamed attacker exploiting the “Citrix Bleed” vulnerability in NetScaler appliances affiliated

  with Defendant FNF’s domain (i.e, fnf.com).32

           53.      A domain is an address used to enter websites (e.g., google.com, yahoo.com).33

           54.      After Kevin Beaumont, a cybersecurity researcher, performed Shodan34 scans of

  NetScaler appliances linked to FNF’s domain, Mr. Beaumont deduced that FNF applied the




  31
     Id.
  32
     BlackCat claims it is behind Fidelity National Financial ransomware shakedown, The Register,
  https://www.theregister.com/2023/11/23/blackcat_ransomware_fnf/.
  33
     What is a domain name? | Domain name vs. URL, CloudFlare,
  https://www.cloudflare.com/learning/dns/glossary/what-is-a-domain-name/.
  34
     Shodan is a search engine that permits users to search for information about Internet of Things (“IoT”) devices,
  such as power plants, mobile phones, refrigerators, etc. See Shodan Home Page, Shodan, https://www.shodan.io/.

                                                           12
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  patch two weeks after it was made available (i.e., FNF applied the patch on or about November

  14, 2023).35

          55.     Mr. Beaumont noted that FNF “patched []Citrix Bleed late and now [has] security

  incident involving a ransomware group.”36

          56.     Upon information and belief, the Cyber Attack on FNF’s systems was perpetrated

  by the ransomware gang, AlphV/Black Cat.37




            Results of Kevin Beaumont’s Shodan scans of NetScaler appliances linked to FNF’s domain.

       C. Defendants Failed to Comply with the FTC Act and Failed to Observe Reasonable
          and Adequate Date Security Measures

  35
     Kevin Beaumont (@GossiTheDog@cyberplace.social), Mastodon (Nov. 22, 2023, 3:39PM),
  @https://cyberplace.social/@GossiTheDog/111456129025977120.
  36
     Id.
  37
     Notorious ransomware gang takes credit for cyberattack on Fidelity National Financial, The Record,
  https://therecord.media/fidelity-national-financial-ransomware-alphv-black-cat.

                                                      13
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          57.      The FTC has issued several guides for businesses, highlighting the importance of

  reasonable data security practices. According to the FTC, the need for data security should be

  considered for all business decision-making.38

          58.      Under the FTC’s 2016 Protecting Personal Information: Guide for Business

  publication, the FTC notes that businesses should safeguard the personal customer information

  they retain; properly dispose of unnecessary personal information; encrypt information stored on

  computer networks; understand their network’s vulnerabilities; and implement policies to rectify

  security issues.39

          59.      The guidelines also suggest that businesses use an intrusion detection system to

  expose a breach as soon as it happens, monitor all incoming traffic for activity indicating someone

  is trying to hack the system, watch for large amounts of data being siphoned from the system, and

  have a response plan in the event of a breach.

          60.      The FTC advises companies to not keep information for periods of time longer than

  needed to authorize a transaction, restrict access to private information, mandate complex

  passwords to be used on networks, utilize industry-standard methods for security, monitor for

  suspicious activity on the network, and verify that third-party service providers have implemented

  reasonable security measures.40

          61.      The FTC has brought enforcement actions against companies for failing to

  adequately and reasonably protect consumer data, treating the failure to do so as an unfair act or

  practice barred by Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45.


  38
     Start With Security, FTC, available at https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
  startwithsecurity.pdf
  39
     Protecting Personal Information: A Guide for Business, FTC, available at
  https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-information.pdf
  40
     Start With Security, supra.

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  Orders originating from these actions further elucidate the measures businesses must take to satisfy

  their data security obligations.

          62.     Defendants’ failure to employ reasonable and appropriate measures to protect

  against unauthorized access to confidential consumer data constitutes an unfair act or practice

  prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

          63.     Plaintiff and Class Members gave their PII to Defendants LoanCare and FNF with

  the reasonable expectation and understanding that Defendants’ third-party vendors, like Defendant

  Citrix, would comply with their duty to keep such information confidential and secure from

  unauthorized access.

          64.     The Cloud Software Group stated in its Data Processing Addendum the

  following about the Security of personal data processed by the Cloud Software Group:

          We shall implement and maintain appropriate administrative, technical, and
          organizational practices designed to protect Personal Data against any misuse or
          accidental or unlawful destruction, loss, alteration, unauthorized disclosure of, or
          access to Personal Data. Such security practices are set forth in the Cloud SG
          Security Exhibit, which is available at https://www.cloud.com/trust-center/citrix-
          services-security-exhibit. We seek to continually strengthen and improve its
          security practices, and so reserve the right to modify the controls described herein.
          Any modifications will not diminish the level of security during the relevant term
          of Products and/or Services.

          Our employees are bound by appropriate confidentiality agreements and required
          to take regular data protection training as well as comply with Our corporate
          privacy and security policies and procedures.41

          65.     The Cloud Software Group’s Data Processing Addendum states that the Addendum

  “applies to the Processing of Personal Data by Cloud Software Group, Inc. and its Affiliates




  41
    Data Processing Addendum, Cloud Software Group,
  https://www.cloud.com/content/dam/cloud/documents/legal/cloud-software-group-data-processing-addendum-oct-
  2023.pdf.

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  on Your behalf when providing Cloud SG products (“Products”) and technical support services

  or consulting services (“Services”).”42

          66.      Regarding Plaintiff’s and Class Members’ Private Information, Defendant FNF

  states the following in its Financial Privacy Notice:

          Fidelity National Financial, Inc. and its majority-owned subsidiary companies
          (collectively, “FNF,” “our,” or “we”) respect and are committed to protecting your
          privacy.
          …

          A limited number of FNF subsidiaries have their own privacy notices. If a
          subsidiary has its own privacy notice, the privacy notice will be available on the
          subsidiary’s website and this Privacy Notice does not apply.
          …

          Security of Your Information
          We maintain physical, electronic, and procedural safeguards to protect your
          Personal Information. 43

          67.      Defendant LoanCare posts the following in its own Privacy Notice regarding

  Plaintiff’s and Class Members’ Private Information:

          Fidelity National Financial, Inc. and its majority-owned subsidiary companies
          (collectively, “FNF,” “our,” or “we”) respect and are committed to protecting your
          privacy.
          …

          Security of Your Information
          We maintain physical, electronic, and procedural safeguards to protect your
          Personal Information.44

          68.      Defendants have been on notice for years that Plaintiff’s and Class Members’ PII

  was a target for bad actors because of, among other motives, the high value of the PII created,

  collected and maintained by Defendants.




  42
     Id.
  43
     Fidelity Nat’l Finan. Privacy Not., Fidelity Nat’l Finan., Inc., https://fnf.com/privacy-notice.
  44
     Fidelity Nat’l Finan. Privacy Not., LoanCare, LLC, https://www.loancareservicing.com/privacy-policy/.

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           69.      Despite such awareness, Defendants failed to impose and maintain reasonable and

  appropriate data security controls to protect Plaintiff’s and Class Members’ PII from unauthorized

  access that Defendants should have anticipated and guarded against.

           70.      Defendants were fully aware of their obligation to protect the PII of their customers

  and users because of their collection, storage, and maintenance of PII. Defendants were also aware

  of the significant consequences if they failed to do so because they collected, stored, and

  maintained sensitive private information from millions of individuals, and Defendants knew that

  this information, if hacked, would result in injury to consumers, including Plaintiff and Class

  Members.

           71.      Despite understanding the consequences of insufficient data security, Defendants

  failed to adequately protect Plaintiff’s and Class Members’ PII, permitting bad actors to access

  and misuse it.

       D. Defendants Failed to Comply With Industry Standards

           72.      Various cybersecurity industry best practices have been published and should be

  consulted as a go-to resource when developing an organization’s cybersecurity standards. The

  Center for Internet Security (“CIS”) promulgated its Critical Security Controls, which identify the

  most commonplace and essential cyber-attacks that affect businesses every day and proposes

  solutions to defend against those cyber-attacks.45 All organizations collecting and handling PII,

  such as Defendants, are strongly encouraged to follow these controls.

           73.      Further, the CIS Benchmarks are the overwhelming option of choice for auditors

  worldwide when advising organizations on the adoption of a secure build standard for any




  45
    Center for Internet Security, Critical Security Controls, at 1 (May 2021), available at
  https://learn.cisecurity.org/CIS-Controls-v8-guide-pdf.

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  governance and security initiative, including PCI DSS, HIPAA, NIST 800-53, SOX, FISMA,

  ISO/IEC 27002, Graham Leach Bliley and ITIL.46

          74.      Several best practices have been identified that a minimum should be implemented

  by companies like Defendants, including but not limited to securely configuring business software,

  managing access controls and vulnerabilities to networks, systems, and software, maintaining

  network infrastructure, defending networks, adopting data encryption while data is both in transit

  and at rest, and securing application software.47

          75.      Defendants failed to follow these and other industry standards to adequately protect

  the PII of Plaintiff and Class Members.

       E. The Data Breach Caused Harm and Will Result in Additional Fraud

          76.      Without detailed disclosure to the victims of the Data Breach, individuals whose

  PII was used and maintained by Defendants, including Plaintiff and Class Members, were

  unknowingly and unwittingly exposed to continued misuse and ongoing risk of misuse of their PII

  for months without being able to take precautions to prevent imminent harm.

          77.      The ramifications of Defendants’ failure to secure Plaintiff’s and Class Members’

  data are severe.

          78.      Consumer victims of data breaches are much more likely to become victim of

  identity fraud. This conclusion is based on an analysis of four years of data that correlated each

  year’s data breach victims with those who also reported being victims of identity fraud.48




  46
     See CIS Benchmarks FAQ, Center for Internet Security, https://www.cisecurity.org/cis-benchmarks/cis-
  benchmarks-faq/ (last visited Jan. 5, 2021).
  47
     See Center for Internet Security, Critical Security Controls, supra.
  48
     2014 LexisNexis True Cost of Fraud Study, https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-
  2014.pdf, (last visited July 26, 2018).

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           79.      The FTC defines identity theft as “a fraud committed or attempted using the

  identifying information of another person without authority.”49 The FTC describes “identifying

  information” as “any name or number that may be used, alone or in conjunction with any other

  information, to identify a specific person.”50

           80.      Identity thieves can use PII, such as that of Plaintiff and Class Members, which

  Defendants failed to keep secure, to perpetrate a variety of crimes that harm victims. For instance,

  identity thieves may commit various types of government fraud such as: immigration fraud;

  obtaining a driver’s license or identification card in the victim’s name but with another’s picture;

  using the victim’s information to obtain government benefits; or filing a fraudulent tax return using

  the victim’s information to obtain a fraudulent refund.

           81.      As a result of Defendant LoanCare’s delay between their knowledge of the Data

  Breach and the notice of the Data Breach sent to affected persons in December 12, 2023, the risk

  of fraud for Plaintiff and Class Members has been driven even higher.

           82.      Javelin Strategy and Research reports that identity thieves have stolen $112 billion

  in the past six years.51

           83.      Reimbursing a consumer for a financial loss due to fraud does not make that

  individual whole again. On the contrary, identity theft victims must spend numerous hours and

  their own money repairing the impact to their credit. After conducting a study, the Department of

  Justice’s Bureau of Justice Statistics (“BJS”) found that identity theft victims “reported spending




  49
     17 C.F.R § 248.201 (2013).
  50
     Id.
  51
     See https://www.javelinstrategy.com/coverage-area/2016-identity-fraud-fraud-hits-inflection-point (last visited
  April 10, 2017).

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  an average of about 7 hours clearing up the issues” and resolving the consequences of fraud in

  2014.52

            84.      There may be a time lag between when harm occurs versus when it is discovered,

  and also between when private information is stolen and when it is used. According to the U.S.

  Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

            [L]aw enforcement officials told us that in some cases, stolen data may be held for
            up to a year or more before being used to commit identity theft. Further, once stolen
            data have been sold or posted on the Web, fraudulent use of that information may
            continue for years. As a result, studies that attempt to measure the harm resulting
            from data breaches cannot necessarily rule out all future harm.53

            85.      Thus, Plaintiff and Class Members now face years of constant surveillance of their

  financial and personal records, monitoring, and loss of rights.

       F. Plaintiff and Class Members Suffered Damages

                  a. Plaintiff Newell’s Damages

            86.      Following the Data Breach, Plaintiff Newell noticed an increase in spam emails,

  text messages, and/or phone calls.

            87.      As a result of the Data Breach, Mr. Newell has had to pay for credit monitoring,

  identify theft prevention, and/or a credit card security plan.

            88.      Mr. Newell has spent time and effort dealing with and mitigating the consequences

  of the Data Breach.

            89.      Mr. Newell has spent about two (2) hours searching for fraudulent charges on his

  accounts and a total of about four (4) hours in dealing with the consequences of the Data Breach.




  52
     Victims of Identity Theft, 2014 (Sept. 2015) available at: http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited
  April 10, 2017).
  53
     GAO, Report to Congressional Requesters, at 29 (June 2007), available at
  http://www.gao.gov/new.items/d07737.pdf (last visited April 10, 2017).

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         90.      From the Data Breach, Mr. Newell has and continues to suffer emotional distress,

  for he has trouble sleeping from researching developments on the Data Breach and protecting his

  accounts from potential fraud.

               b. The Nationwide Class

         91.      The Data Breach was a direct and proximate result of Defendants’ failure to

  properly safeguard and protect Plaintiff’s and Class Members’ PII from unauthorized access, use,

  and disclosure, as required by various state and federal regulations, industry practices, and the

  common law, including Defendants’ failure to establish and implement appropriate administrative,

  technical, and physical safeguards to ensure the security and confidentiality of Plaintiff’s and Class

  Members’ PII to protect against reasonably foreseeable threats to the security or integrity of such

  information.

         92.      Had Defendant Citrix remedied the deficiencies in its information storage and

  security systems, followed industry guidelines, and adopted security measures recommended by

  experts in the field, Defendant Citrix would have prevented intrusion into its information storage

  and security systems and, ultimately, the theft of the PII of over 1.31 million individuals.

         93.      As a direct and proximate result of Defendants’ wrongful actions and inaction and

  the resulting Data Breach, Plaintiff and Class Members have been placed at an imminent,

  immediate, and continuing increased risk of harm from identity theft and identity fraud, requiring

  them to take the time which they otherwise would have dedicated to other life demands such as

  work and family in an effort to mitigate the actual and potential impact of the Data Breach on their

  lives including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies,

  contacting their financial institutions, closing or modifying financial accounts, closely reviewing




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  and monitoring their credit reports and accounts for unauthorized activity, and filing police reports.

  This time has been lost forever and cannot be recaptured.

         94.      Defendants’ wrongful actions and inaction directly and proximately caused the

  theft and dissemination into the public domain of Plaintiff’s and Class Members’ PII, causing them

  to suffer, and continue to suffer, economic damages and other actual harm for which they are

  entitled to compensation, including:

               a. theft of their personal and financial information;

               b. the imminent and certainly impending injury flowing from potential fraud and

                  identity theft posed by their PII being placed in the hands of criminals and

                  misused via the sale of Plaintiff’s and Class Members’ information on the

                  Internet’s black market;

               c. the untimely and inadequate notification of the Data Breach;

               d. the improper disclosure of their PII;

               e. loss of privacy;

               f. ascertainable losses in the form of out-of-pocket expenses and the value of their

                  time reasonably incurred to remedy or mitigate the effects of the Data Breach;

               g. ascertainable losses in the form of deprivation of the value of their PII, for which

                  there is a well-established national and international market; and,

               h. the loss of productivity and value of their time spent to address, attempt to

                  ameliorate, mitigate, and deal with the actual and future consequences of the Data

                  Breach, including finding fraudulent charges, cancelling and reissuing cards,

                  purchasing credit monitoring and identity theft protection services, imposition of

                  withdrawal and purchase limits on compromised accounts, and the inconvenience,



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                 nuisance and annoyance of dealing with all such issues resulting from the Data

                 Breach.

         95.     While Plaintiff’s and Class Members’ private information have been stolen,

  Defendants continue to hold individuals’ PII, including Plaintiff’s and Class Members’.

  Particularly because Defendants have demonstrated an inability to prevent a breach or stop it from

  continuing even after being detected, Plaintiff and Class Members have an undeniable interest in

  ensuring that their private information is secure, remains secure, is properly and promptly

  destroyed, and is not subject to further theft.

                                       CLASS ALLEGATIONS

         96.     Plaintiff brings this Action as a class action under Federal Rule of Civil Procedure

  23 and seeks certification of the following nationwide Class (“Class”):

         All persons whose personal information was accessed, compromised, copied,
         stolen, and/or revealed as a result of Defendants’ (and any of Defendants’ affiliates
         and customers) Data Breach.

         97.     Excluded from the Class are Defendants, their officers and directors, and Members

  of their immediate families or their legal representatives, heirs, successors or assigns and any entity

  in which Defendants have or had a controlling interest.

         98.     Class certification of Plaintiff’s claims is appropriate because he can prove the

  elements of the claims on a class-wide basis utilizing the same evidence as would be used to prove

  those elements in separate actions alleging the same claims.

         99.     Numerosity—Federal Rule of Civil Procedure 23(a)(1). The Members of the

  Class are so numerous that joinder of all Class Members would be impracticable. Upon

  information and belief, the Class numbers in the millions. Also, the Class is comprised of an easily

  ascertainable set of individuals who were impacted by the Data Breach. The exact number of Class



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  Members can be confirmed through discovery, which includes Defendants’ records. The resolution

  of Plaintiff’s and Class Members’ claims through a class action will behoove the Parties and this

  Court.

           100.   Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

  and 23(b)(3). Common questions of fact and law exist as to all Members of the Class and

  predominate over questions affecting only individual Class Members. These common questions of

  law or fact, include, among other things:

           •      Whether Defendants’ cybersecurity systems and/or protocols before and during

           the Data Breach complied with relevant data security laws and industry standards;

           •      Whether Defendants properly implemented their purported security measures to

           safeguard Plaintiff’s and Class Members’ private information from unauthorized access,

           propagation, and misuse;

           •      Whether Defendants took reasonable measures to determine the extent of the Data

           Breach after they first discovered the same;

           •      Whether Defendants disclosed Plaintiff’s and Class Members’ private information

           in contravention of the understanding that the information was being revealed in

           confidence and should be maintained;

           •      Whether Defendants willfully, recklessly, or negligently failed to maintain and

           execute reasonable procedures and security controls to preclude unauthorized access to

           Plaintiff’s and the Class Members’ private information;

           •      Whether Defendants were unjustly enriched by their actions; and

           •      Whether Plaintiff and Class Members are entitled to damages, injunctive relief, or

           other equitable relief, and the extent of such damages and relief.


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         101.    Defendants engaged in a common course of conduct granting rise to the legal rights

  sought to be enforced by Plaintiff, on behalf of themselves and other Members of the Class. Similar

  or identical common law violations, business practices, and injuries are involved.

         102.    Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

  typical of the claims of the other Members of the Class because, inter alia, all Class Members were

  similarly injured and sustained similar monetary and economic injuries as a result of Defendants’

  misconduct described herein and were accordingly subject to the alleged Data Breach. Also, there

  are no defenses available to Defendants that are unique to Plaintiff.

         103.    Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

  Plaintiff is an adequate representative of the Class because his interests do not conflict with the

  interests of the Class he seeks to represent, he retained counsel competent and experienced in

  complex class action litigation, and he will prosecute this action earnestly. The Class’s interests

  will be fairly and adequately protected by Plaintiff and his counsel.

         104.    Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2). Defendants acted

  and/or refused to act on grounds that apply generally to the Class, making injunctive and/or

  declaratory relief appropriate regarding the Class under Federal Rule of Civil Procedure 23(b)(2).

         105.    Superiority—Federal Rule of Civil Procedure 23(b)(3). A class action is

  superior to any other available means for the fair and efficient adjudication of this controversy,

  and no unusual difficulties are likely to be encountered in the management of this matter as a class

  action. The damages, harm, or other financial detriment suffered individually by Plaintiff and the

  other Class Members are relatively small compared to the burden and expense that would be

  required to litigate their claims on an individual basis against Defendants, making it impracticable

  for Class Members to individually seek redress for Defendants’ wrongful conduct. Even if Class

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  Members could afford individual litigation, the court system could not. Individualized litigation

  would create a potential for inconsistent or contradictory judgments, and increase the delay and

  expense to all parties and the court system. By contrast, the class action device presents far fewer

  management difficulties and provides the benefits of single adjudication, economies of scale, and

  comprehensive supervision by a single court.

          106.    Class certification is also appropriate under Rules 23(b)(1) and/or (b)(2) because:

          •       The prosecution of separate actions by the individual Class Members would
          create a risk of inconsistent or varying adjudications establishing conflicting standards of
          conduct for Defendants;

          •       The prosecution of separate actions by individual Class Members would create a
          risk of adjudication that would be dispositive of the interests of other Class Members not
          parties to the adjudications, or would substantially impair or impede their ability to
          protect their interests; and

          •       Defendants have acted and refused to act on grounds generally applicable to the
          Class, thereby making appropriate final injunctive relief regarding the Members of the
          Class as a whole.

          107.    Class certification is also appropriate because this Court can designate specific

  claims or issues or class-wise treatment and may designate multiple subclasses under Federal Rule

  of Civil Procedure 23(c)(4).

          108.    No unusual difficulties are likely to be encountered in the management of this

  action as a class action.

                                       CLAIMS FOR RELIEF

                                     COUNT I – NEGLIGENCE
                                 (On behalf of Plaintiff and the Class)
                                      (Against All Defendants)

          109.    Plaintiff and the Class re-allege and incorporate by reference herein all of the

  allegations contained in paragraphs 1 through 108.




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         110.    Defendants had a duty to exercise reasonable care in safeguarding, securing, and

  protecting Plaintiff’s and Class Members’ information from being compromised, lost, stolen,

  misused, and/or disclosed to unauthorized parties. This duty includes, among other things:

             i. designing, maintaining, and testing Defendants’ security protocols to ensure that

                 the private information of Plaintiff and the Nationwide Class in Defendants’

                 possession was adequately secured and protected;

             j. to use reasonable care in obtaining, maintaining, and securing private information

                 in Defendants’ possession;

             k. to impose processes to aptly discover and prevent the improper access and misuse

                 of the personal information of Plaintiff and the Nationwide Class;

             l. to adequately disclose that the personal information of Plaintiff and the

                 Nationwide Class within Defendants’ possession might have been compromised,

                 how it was compromised, and the types of data that were compromised and when.

         111.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

  Nationwide Class was reasonably foreseeable, particularly considering Defendants’ insufficient

  security practices.

         112.    Defendants’ own conduct created foreseeable risks of harm to Plaintiff and the

  Nationwide Class. Defendants’ misconduct included, but was not limited to, its failure to take the

  steps and opportunities to prevent the Data Breach as set forth herein. Defendants’ misconduct

  also included its decisions not to comply with industry standards for the safekeeping of the

  personal information of Plaintiff and the Nationwide Class, including basic encryption techniques

  freely available to Defendants.

         113.    Plaintiff and the Nationwide Class had no ability to protect their personal



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  information that was in, and possibly remains in, Defendants’ possession.

         114.    Defendants were in a position to protect against the harm suffered by Plaintiff and

  the Nationwide Class as a result of the Data Breach.

         115.    Through their actions and/or omissions, Defendants unlawfully breached their

  duties to Plaintiff and the prospective Class Members by

             a. failing to design, maintain, and test their security protocols to ensure that

                 Plaintiff’s and the prospective Class Members’ private information was

                 adequately secured;

                 failing to use reasonable care in obtaining, maintaining, and securing private

                 information in Defendants’ possession;

             b. failing to implement processes to rapidly discovery and preclude the improper

                 access and misuse of personal information of Plaintiff and the Nationwide Class;

                 and

             c. failing to adequately disclose that Plaintiff’s and the prospective Class Members’

                 personal information might have been compromised, how it was compromised,

                 and the types of data that were compromised and when.

         116.    But for Defendants’ wrongful and negligent breach of duties owed to Plaintiff and

  the Nationwide Class, their personal information would not have been compromised.

         117.    There is a close causal connection between Defendants’ failure to implement

  security measures to protect the personal information of Plaintiff and the Nationwide Class and

  the harm, or risk of imminent harm, suffered by Plaintiff and the Nationwide Class. The personal

  information of Plaintiff and the Nationwide Class was lost and accessed as the proximate result of




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  Defendants’ failure to exercise reasonable care in safeguarding such personal information by

  adopting, implementing, and maintaining appropriate security measures.

         118.    Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

  commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

  businesses, such as Defendants, of failing to use reasonable measures to protect personal

  information. The FTC’s publications and orders described above also form part of the basis of

  Defendants’ duty in this regard.

         119.    Defendants violated Section 5 of the FTC Act by failing to use reasonable measures

  to protect personal information and not complying with applicable industry standards, as described

  in detail herein. Defendants’ conduct was particularly unreasonable given the nature and amount

  of personal information they obtained and stored and the foreseeable consequences of the immense

  damages that would result to Plaintiff and the Nationwide Class.

         120.    Defendants’ violation of Section 5 of the FTC Act constitutes negligence per se.

         121.    Plaintiff and the Nationwide Class are within the class of persons that the FTC Act

  was intended to protect.

         122.    The harm that occurred as a result of the Data Breach is the type of harm the FTC

  Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

  which, as a result of their failure to employ reasonable data security measures and avoid unfair and

  deceptive practices, caused the same harm as that suffered by Plaintiff and the Nationwide Class.

         123.    As a direct and proximate result of Defendants’ negligence and negligence per se,

  Plaintiff and the Nationwide Class have suffered and will suffer injury, including but not limited

  to:

             a. actual identity theft;



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             b. the loss of the opportunity of how their personal information is used;

             c. the compromise, publication, and/or theft of their personal information;

             d. out-of-pocket expenses associated with the prevention, detection, and recovery

                 from identity theft, tax fraud, and/or unauthorized use of their personal information;

             e. lost opportunity costs associated with effort expended and the loss of productivity

                 addressing and attempting to mitigate the actual and future consequences of the

                 Data Breach, including but not limited to efforts spent researching how to prevent,

                 detect, contest, and recover from tax fraud and identity theft;

             f. costs associated with placing freezes on credit reports;

             g. the continued risk to their personal information, which remain in Defendants’

                 possession and is subject to further unauthorized disclosures so long as Defendants

                 fail to undertake appropriate and adequate measures to protect the personal

                 information of Plaintiff and the Nationwide Class; and

             h. future costs in terms of time, effort, and money that will be expended to prevent,

                 detect, contest, and repair the impact of the personal information compromised as

                 a result of the Data Breach for the remainder of the lives of Plaintiff and the

                 Nationwide Class.

         124.    As a direct and proximate result of Defendants’ negligence and negligence per se,

  Plaintiff and the Nationwide Class have suffered and will continue to suffer other forms of injury

  and/or harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

  economic and non-economic losses.

         125.    Additionally, as a direct and proximate result of Defendants’ negligence and

  negligence per se, Plaintiff and the Nationwide Class have suffered and will suffer the continued



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  risks of exposure of their personal information, which remain in Defendants’ possession and is

  subject to further unauthorized disclosures so long as Defendants fail to undertake appropriate and

  adequate measures to protect the personal information in its continued possession.

         126.    As a direct and proximate result of Defendants’ negligence and negligence per se,

  Plaintiff and the Nationwide Class are entitled to and demand actual, consequential, and nominal

  damages.

                       COUNT II – BREACH OF IMPLIED CONTRACT
                            (On behalf of Plaintiff and the Class)
                          (Against Defendants FNF and LoanCare)

         127.    Plaintiff and the Class re-allege and incorporate by reference herein all of the

  allegations contained in paragraphs 1 through 108.

         128.    Through their course of conduct, Defendants FNF and LoanCare, Plaintiff, and

  Class Members entered into implied contracts for the provision of services for virtualization and

  cloud computing and/or other services, as well as implied contracts for Defendants to provide

  mortgage, loan, cloud computing/virtualization, and/or networking services, and implement data

  security adequate to safeguard and protect the privacy of Plaintiff’s and Class Members’ PII.

         129.    The valid and enforceable implied contracts for services that Plaintiff and Class

  Members entered into with Defendants include the promise to protect non-public PII given to

  Defendants or that Defendants create on their own from disclosure.

         130.    When Plaintiff and Class Members provided their PII to Defendants in exchange

  for Defendants’ services, they entered into implied contracts with Defendants pursuant to which

  Defendants agreed to reasonably protect such information.




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          131.    Defendants solicited and invited Class Members to provide their PII as part of

  Defendants’ regular business practices. Plaintiff and Class Members accepted Defendants’ offers

  and provided their PII to Defendants.

          132.    In entering into such implied contracts, Plaintiff and Class Members reasonably

  believed and expected that Defendants’ data security practices complied with relevant laws and

  regulations and were consistent with industry standards.

          133.    Class Members who paid money to Defendants reasonably believed and expected

  that Defendants would use part of those funds to ensure adequate data security. Defendants failed

  to do so.

          134.    Under the implied contracts, Defendants promised and were obligated to: (a)

  provide services to Plaintiff and Class Members; and (b) protect Plaintiff’s and the Class Members’

  PII. In exchange, Plaintiff and Members of the Class agreed to pay money for these services, and

  to turn over their PII.

          135.    Both the provision of services and the protection of Plaintiff’s and Class Members’

  PII were material aspects of these implied contracts.

          136.    Upon information and belief, the implied contracts for the provision of services that

  include the contractual obligations to maintain the privacy of Plaintiff’s and Class Members’

  Private Information are also acknowledged, memorialized, and embodied in multiple documents,

  including (among other documents) Defendants’ privacy notices.

          137.    Defendants’ express representations, including, but not limited to the express

  representations found in their privacy notices, memorialize and embody the implied contractual

  obligation requiring Defendants to implement data security adequate to safeguard and protect the

  privacy of Plaintiff’s and Class Members’ PII.



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           138.   Defendants’ consumers value their privacy, the privacy of their dependents, and the

  ability to keep their PII associated with obtaining services private. To customers such as Plaintiff

  and Class Members, services that do not adhere to industry standard data security protocols to

  protect PII are fundamentally less useful and less valuable than services that adhere to industry-

  standard data security. Plaintiff and Class Members would not have entrusted their PII to

  Defendants and entered into these implied contracts with Defendants without an understanding

  that their PII would be safeguarded and protected or entrusted their PII to Defendants in the

  absence of Defendants’ implied promise to adopt reasonable data security measures.

           139.    A meeting of the minds occurred, as Plaintiff and Members of the Class agreed to

  and did provide their PII to Defendants, and paid for the provided services in exchange for,

  amongst other things, both the provision such services and the protection of their PII.

           140.   Plaintiff and Class Members performed their obligations under the contract when

  they paid for their services and provided their PII.

           141.   Defendants materially breached their contractual obligations to protect the non-

  public PII Defendants gathered when the sensitive information was accessed by unauthorized

  personnel as part of the Data Breach.

           142.   Defendants materially breached the terms of the implied contracts. Defendants did

  not maintain the privacy of Plaintiff’s and Class Members’ PII as evidenced by their late

  notifications of the Data Breach to Plaintiff and at least 1.31 million Class Members. Specifically,

  Defendants did not comply with industry standards, standards of conduct embodied in statutes like

  Section 5 of the FTCA, or otherwise protect Plaintiff’s and the Class Members’ PII, as set forth

  above.




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         143.    The Data Breach was a reasonably foreseeable consequence of Defendants’ actions

  in breach of these contracts.

         144.    As a result of Defendants’ failure to fulfill the data security protections promised

  in these contracts, Plaintiff and Members of the Class did not receive the full benefit of the bargain,

  and instead received services that were of a diminished value to that described in the contracts.

  Plaintiff and Class Members therefore were damaged in an amount at least equal to the difference

  in the value of the services with data security protection they paid for and the services they

  received.

         145.    Had Defendants disclosed that they did not adhere to industry-standard security

  measures, neither the Plaintiff, the Class Members, nor any reasonable person would have

  purchased services from Defendants.

         146.    As a direct and proximate result of the Data Breach, Plaintiff and Class Members

  have been harmed and have suffered, and will continue to suffer, actual damages and injuries,

  including without limitation the release and disclosure of their PII, the loss of control of their PII,

  the imminent risk of suffering additional damages in the future, out-of-pocket expenses, and the

  loss of the benefit of the bargain they had struck with Defendants.

         147.    Plaintiff and Class Members are entitled to compensatory and consequential

  damages suffered as a result of the Data Breach.

         148.    Plaintiff and Class Members are also entitled to injunctive relief requiring

  Defendants to, e.g., (i) strengthen their data security systems and monitoring procedures; (ii)

  submit to future annual audits of those systems and monitoring procedures; and (iii) immediately

  provide adequate credit and identity monitoring to all Class Members.

                              COUNT III – UNJUST ENRICHMENT
                               (On behalf of Plaintiff and the Class)

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                             (Against Defendants FNF and LoanCare)

         149.    Plaintiff and the Class re-allege and incorporate by reference herein all of the

  allegations contained in paragraphs 1 through 108.

         150.    Plaintiff and Class Members conferred a monetary benefit on Defendants.

  Specifically, they provided their private information to Defendants in exchange for Defendants’

  goods and services that were the subject of the transaction and have their Private Information

  protected with adequate data security.

         151.    Defendants knew that Plaintiff and Class Members conferred a benefit which

  Defendants accepted. Defendants profited from these transactions and used the Private Information

  of Plaintiff and Class Members for business purposes.

         152.    The amount Plaintiff and Class Members paid for goods and services were used, in

  part, to pay for use of Defendants’ network and the administrative costs of data management and

  security.

         153.    Under the principles of equity and good conscience, Defendants should not be

  permitted to retain the money belonging to Plaintiff and Class Members, because Defendants failed

  to implement appropriate data management and security measures that are mandated by industry

  standards.

         154.    Defendants failed to secure Plaintiff’s and Class Members’ PII and, therefore, did

  not provide full compensation for the benefit Plaintiff and Class Members provided.

         155.    Defendants acquired the PII through inequitable means in that they failed to

  disclose the inadequate security practices previously alleged.

         156.    If Plaintiff and Class Members knew that Defendants had not reasonably secured

  their PII, they would not have agreed to Defendants’ services.



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         157.    Plaintiff and Class Members have no adequate remedy at law.

         158.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

  Members have suffered and will suffer injury, including but not limited to: (a) actual identity theft;

  (b) the loss of the opportunity of how their PII is used; (c) the compromise, publication, and/or

  theft of their PII; (d) out-of-pocket expenses associated with the prevention, detection, and

  recovery from identity theft, and/or unauthorized use of their Private Information; (e) lost

  opportunity costs associated with efforts expended and the loss of productivity addressing and

  attempting to mitigate the actual and future consequences of the Data Breach, including but not

  limited to efforts spent researching how to prevent, detect, contest, and recover from identity theft;

  (f) the continued risk to their PII, which remains in Defendants’ possession and is subject to further

  unauthorized disclosures so long as Defendants fail to undertake appropriate and adequate

  measures to protect PII in their continued possession; and (g) future costs in terms of time, effort,

  and money that will be expended to prevent, detect, contest, and repair the impact of the PII

  compromised as a result of the Data Breach for the remainder of the lives of Plaintiff and Class

  Members.

         159.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

  Members have suffered and will continue to suffer other forms of injury and/or harm.

         160.    Defendants should be compelled to disgorge into a common fund or constructive

  trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

  them. In the alternative, Defendants should be compelled to refund the amounts that Plaintiff and

  Class Members overpaid for Defendants’ services.

                           COUNT IV – DECLARATORY JUDGMENT
                              (On behalf of Plaintiff and the Class)
                                   (Against All Defendants)



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         161.     Plaintiff and the Class re-allege and incorporate by reference herein all of the

  allegations contained in paragraphs 1 through 108.

         162.    Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court may

  enter a judgment declaring the rights and legal relations of the Parties and grant further necessary

  relief. The Court also has broad authority to restrict acts that are tortious and violate the terms of

  regulations described in this Complaint.

         163.    There is an actual, substantial controversy concerning Defendants’ present and

  prospective obligations to reasonably protect consumers’ private information and whether

  Defendants are upholding cybersecurity measures sufficient to protect the Class, including

  Plaintiff, from future security breaches that risk Plaintiff’s and Class Member’s information.

         164.    Plaintiff avers that Defendants’ cybersecurity measures are insufficient. Also,

  Plaintiff and Class Members still suffer injury from the Data Breach and stay at imminent risk that

  future breaches of their private information and ongoing fraud against them will happen.

         165.    Plaintiff petitions the Court to enter a judgment declaring the following: (i)

  Defendants owe a duty to protect consumers’ private information and to timely notify them of a

  data breach under common law and Section 5 of the FTC Act; and (ii) Defendants are in in

  violation of these legal duties by failing to impose reasonable measures to protect consumers’

  private information in their possession and control.

         166.    Plaintiff asks the Court to issue injunctive relief mandating Defendants to use

  appropriate security controls consistent with law and industry standards to safeguard consumers’

  private information from future data breaches.

         167.    If an injunction is not issued, the Class Members will suffer irreparable injury and

  lack a sufficient legal remedy, should another data breach involving Defendants occur. The risk of



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  another breach is real, immediate and substantial. If another breach involving Defendants happens,

  the Class Members will not have an adequate legal remedy because several of the corresponding

  injuries are not readily quantified and Class Members will be compelled to bring several lawsuits

  to correct the same misconduct.

         168.    The hardship to Class Members if an injunction is not granted exceeds the hardship

  to Defendants if an injunction is granted. If a similar security breach happens again from

  Defendants’ repeated misconduct, Class Members likely will be subjected to substantial hacking

  attempts and other damage. The cost to Defendants of complying with an injunction by imposing

  reasonable cybersecurity standards is minimal, and Defendants have pre-existing legal duties to

  impose such measures.

         169.    Issuance of the petitioned injunction will not harm the public interest. Rather, such

  an injunction would behoove the public by precluding further data breaches involving Defendants,

  thereby eliminating the additional injuries that would result to the Class Members and the millions

  of consumers whose private information would be further at risk.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of himself and the Class described above, seeks the

  following relief:

                 a. An order certifying this action as a Class action under Fed. R. Civ. P. 23,

                      defining the Class as requested herein, appointing the undersigned as Class

                      counsel, and finding that Plaintiff is a proper representative of the Nationwide

                      Class requested herein;




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                  b. Judgment in favor of Plaintiff and Class Members awarding them appropriate

                      monetary relief, including actual damages, statutory damages, equitable relief,

                      restitution, disgorgement, and statutory costs;

                  c. An order providing injunctive and other equitable relief as necessary to protect

                      the interests of the Class as requested herein;

                  d. An order instructing Defendants to purchase or provide funds for lifetime credit

                      monitoring and identity theft insurance to Plaintiff and Class Members;

                  e. An order requiring Defendants to pay the costs involved in notifying Class

                      Members about the judgment and administering the claims process;

                  f. A judgment in favor of Plaintiff and Class Members awarding them

                      prejudgment and post-judgment interest, reasonable attorneys’ fees, costs, and

                      expenses as allowable by law; and

                  g. An award of such other and further relief as this Court may deem just and

                      proper.

                                    DEMAND FOR JURY TRIAL

  Plaintiff demands a trial by jury on all triable issues.



  DATED: January 8, 2024                          Respectfully submitted,



                                                  /s/ Francesca Kester Burne
                                                  Antonio Arzola, Jr.
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                                                  Francesca Kester Burne
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